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Rachel Kosmal McCart, OSB #091303
Email: rachel@preservelegalsolutions.com
Preserve Legal Solutions, PC
23582 S. Day Hill Rd.
Estacada, OR 97023
Telephone: (844) 468-2388
Fax: (503) 343-9680

Attorney for Plaintiff

                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION

MOMTAZI FAMILY, LLC,                       )
                                           )         Case No. 3:19-cv-00476
               Plaintiff                   )
                                           )
               V.                          )         COMPLAINT
                                           )
MARY E. WAGNER, RICHARD                    )         For Violation of
WAGNER, STEVEN R. WAGNER                   )         18 U.S.C. § 1962
and YAMHILL NATURALS, LLC,                 )
                                           )
               Defendants                  )
                                           )
                                           )

       COMES NOW, Plaintiff Momtazi Family LLC and hereby alleges as follows.

                                     INTRODUCTION

                                                1.

       Plaintiff is an Oregon wine country property owner who has been damaged by a cn'minal

enterpn'se (the “Marijuana Operation”) producing and processing marijuana on a neighbon'ng

property. Plaintiff seeks redress under the Racketeer Inﬂuenced and Corrupt Organizations Act


Page 1 {?OMPLAINT                                                Preserve Legal Solutions, PC
                                                                        23582 S. Day Hill Rd.
                                                                         Estacada, OR 97023
                                                                   Telephone: (844) 468-2388
                                                                         Fax: (503) 343-9680
                                                             Email: rachel@preservelegalsolutionseom
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(“RICO”), which requires those who engage in racketeen'ng activity, including the production

and sale of marijuana as a controlled substance, to pay treble damages, reasonable attorneys’ fees

and costs to those whom they injure.

                                JURISDICTION AND VENUE

                                                  2.

       Pursuant to 28 U.S.C. § 1331, this Court has on'ginal juiisdiction over claims brought

under 18 U.S.C. § 1964(c).

                                                  3.

       Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because the events

giving rise to this action took place in, and continue to take place in, Yamhill County, Oregon.

                                            PARTIES

                                                  4.

       Plaintiff is an Oregon limited liability company that owns real property located at 15765

SW Muddy Valley Road in McMinnVille, Oregon (the “Momtazi Property”). Until on or about

August 1, 2018, Plaintiff operated Momtazi Vineyard, a Demeter Certified Biodynamic

Vineyard, on the approximately 532-acre Momtazi Property. On the Momtazi Property, which is

located in the McMinnVille Amen'can Viticultural Area (“McMinnVille AVA”), Plaintiff grew

the grapes used by Maysara Winery, LLC (“Maysara Winery”) to create its pn'ze-winning pinot

noirs and other high—quality wines. On or about August 1, 2018, Plaintiff began leasing the

Momtazi Property to Maysara Winery, which now operates Momtazi Vineyard. Maysara

Winery’s pn'ncipal place of business is located on the Momtazi Property, and includes not only a

tasting room but also one of the largest indoor and outdoor event venues in Oregon wine country.
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                                                                         23582 S. Day Hill Rd.
                                                                          Estacada, OR 97023
                                                                    Telephone: (844) 468-2388
                                                                          Fax: (503) 343-9680
                                                              Email: rachel@preservelegalsolutionscom
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During the pen'od from 2016 — 2018, Plaintiff sold wine grapes grown on the Momtazi Property

to other wine producers.

                                                 5.

       Defendants Mary Wagner and Steven Wagner are each natural persons resident in

Oregon. Defendants Mary Wagner and Steven Wagner own the real property located at 15500

SW Dusty Drive in McMinnVille, Oregon (the “Wagner Property”). The Wagner Property is

adjacent to the Momtazi Property. As further desc1ibed herein, Defendants Mary Wagner and

Steven Wagner purchased the Wagner Property for the purpose of producing and processing

marijuana, knowingly allow the Wagner Property to be used for such purposes, and knowingly

receive proceeds from producing and processing man'juana on the Wagner Property.

                                                 6.

       Defendant Richard Wagner is a natural person resident in Oregon. As further desc1ibed

herein, Defendant Wagner resides on the Wagner Property and produces and processes

marijuana on the Wagner Property for the Marijuana Operation.

                                                 7.

       Defendant Yamhill Naturals LLC (“Defendant Yamhill Naturals”) is an Oregon limited

liability company with its p1incipal place of business at the Wagner Property. Defendant Richard

Wagner directs the operations of Defendant Yamhill Naturals. As further desc1ibed herein,

Defendant Yamhill Naturals produces and processes marijuana on the Wagner Property and

knowingly receives proceeds from man'juana produced and processed on the Wagner Property.

The Marijuana Operation also markets its marijuana under the brand name “Yamhill Naturals,”

which is owned by Defendant Yamhill Naturals.
Page 3 {?OMPLAINT                                                Preserve Legal Solutions, PC
                                                                       23582 S. Day Hill Rd.
                                                                        Estacada, OR 97023
                                                                  Telephone: (844) 468-2388
                                                                         Fax: (503) 343-9680
                                                            Email: rachel@preservelegalsolutionscom
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                                 FACTUAL ALLEGATIONS

                            How the Marijuana Operation Began

                                                  8.

       On or about December 19, 2016, Defendants Mary and Steven Wagner purchased the

Wagner Property for the purpose of providing Defendant Richard Wagner, their adult son, with a

place to produce and process marijuana for sale. Defendants Mary Wagner, Steven Wagner and

Richard Wagner (collectively, the “Wagner Defendants”) agreed to develop the Wagner Property

to produce and process marijuana, and to erect structures, purchase and install equipment,

fixtures and materials on the Wagner Property for such purposes. The Wagner Defendants

further agreed they would each make a financial investment in the Marijuana Operation, and that

in exchange, they would each receive a portion of the proceeds from the Marijuana Operation.

                                                  9.

       During the period from on or about December 19, 2016 to the present, the Wagner

Defendants engaged in a series of financial transactions Via which they invested money in the

Marijuana Operation.

                        How the Wagner Property Was Transformed

                               Into a Marijuana Production Site

                                                 10.

       On or about January 2017, Defendant Richard Wagner moved onto the Wagner Property

for the purpose of setting up the Wagner Property to produce and process marijuana, and to

produce and process marijuana on the Wagner Property.



Page 4 {?OMPLAINT                                                Preserve Legal Solutions, PC
                                                                        23582 S. Day Hill Rd.
                                                                         Estacada, OR 97023
                                                                   Telephone: (844) 468-2388
                                                                         Fax: (503) 343-9680
                                                             Email: rachel@preservelegalsolutionscom
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                                                  1 1.

       Beginning on or about January 2017, the Wagner Defendants converted a large barn on

the Wagner Property into a fully operational facility for producing and processing marijuana.

                                                  12.

       Beginning on or about the summer of 2017, the Wagner Defendants erected large

commercial greenhouses on the Wagner Property for the purpose of producing marijuana.

                                                  13 .

       Beginning on or about January 2018, the Wagner Defendants purchased and installed an

approximately 81,000-gallon commercial water tank on the Wagner Property, including

installing a concrete foundation. The purpose of such tank is to store water for use in the

production and processing of marijuana.

                                                  14.

       During the period from January 2017 to the present, the Wagner Defendants purchased

and installed the following items on the Wagner Property for the purpose of producing and

processing marijuana: Tables, insulation, drywall, lighting, fans, climate control equipment and

fixtures, electrical circuits, plumbing and fixtures. During the period from January 2017 to the

present, the Wagner Defendants purchased, and Defendant Richard Wagner brought to the

Wagner Property, the following items for the purpose of producing and processing marijuana:

Marijuana plants, harvested marijuana, planting media, plant containers, netting, pallets, fuel,

solvents, fungicides, fertilizers, pest control equipment and supplies, hand tools, solvent

containers, trimming equipment, processing equipment and packaging materials.



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                                                                          23582 S. Day Hill Rd.
                                                                           Estacada, OR 97023
                                                                     Telephone: (844) 468-2388
                                                                           Fax: (503) 343-9680
                                                               Email: rachel@preservelegalsolutionscom
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                                                  15.

       Beginning on or about December 2017, the Wagner Defendants moved large amounts of

soil on the Wagner Property to form terraces for the purpose of increasing the size of the outdoor

marijuana growing area.

                                                  16.

       Throughout the period from on or about January 2017 to the present, Defendant Wagner

and Defendant Yamhill Naturals produced and processed marijuana on the Wagner Property and

distributed it for sale. Each of the Defendants engaged in a series of financial transactions in

which they received a portion of the proceeds of the Marijuana Operation.

                                                  17.

       On or about November 18, 2016, Defendant Wagner forrned Defendant Yamhill Naturals

for the purpose of branding and marketing marijuana produced by the Marijuana Operation.

Since on or about January 2017, the marijuana produced by the Marijuana Operation has been

branded as “Yamhill Naturals” and sold under the name of Defendant Yamhill Naturals. Since

on or about January 2017, Defendant Yamhill Naturals has engaged in a series of financial

transactions in which it received a portion of the proceeds of the Marijuana Operation.

          The Marijuana Operation’s Impact on Plaintiff’s Business and Property

                                                  18.

       Due to the presence of the Marijuana Operation on the Wagner Property, one of

Plaintiff’s repeat customers canceled siX tons of its order for wine grapes grown on the Momtazi

Property. The customer explained it canceled this portion of its order because it contained

grapes grown on the section of the Momtazi Property adjacent to the Wagner Property, and the
Page 6 {?OMPLAINT                                                  Preserve Legal Solutions, PC
                                                                         23582 S. Day Hill Rd.
                                                                           Estacada, OR 97023
                                                                     Telephone: (844) 468-2388
                                                                           Fax: (503) 343-9680
                                                               Email: rachel@preservelegalsolutionscom
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customer believed it was likely the notoriously pungent stench generated by marijuana had

contaminated the wine grapes and would adversely inﬂuence the wine made from such grapes.

Plaintiff has been unable to market and sell grapes grown on the portions of the Momtazi

Property nearest to the Wagner Property because of buyers’ concerns about marijuana

contamination.

                                                  19.

       In addition, the terracing operation engaged in by the Marijuana Operation on the Wagner

Property caused large amounts of earth to ﬂow directly downhill from the terraces into one of the

fish—stocked reservoirs on the Momtazi Property, presenting a hazard to the fish and wildlife that

form an essential part of Plaintiff’s biodynamic operation.

                                                  20.

       As part of its biodynamic operation, Plaintiff maintains a small herd of cattle on the

Momtazi Property. On or about April 25 and 26, 2017, in apparent retaliation for Plaintiff’s

opposition to the Marijuana Operation, Defendants and/or their agents trespassed onto the

Momtazi Property, deliberately killing a newborn calf and brutally arnputating the lower portion

of the mother cow’s tail. As a direct and proximate result of such acts, Plaintiff suffered injury

to its business from the loss of the value of the dead calf and the diminution in market value of

the mother cow.

                                                  21.

       Furthermore, the presence of the Marijuana Operation on the Wagner Property and the

effects of its operations on the Momtazi Property have directly and materially diminished the

Momtazi Property’s fair market value. A Vineyard’s real property value is heavily dependent
Page 7 {?OMPLAINT                                                  Preserve Legal Solutions, PC
                                                                         23582 S. Day Hill Rd.
                                                                          Estacada, OR 97023
                                                                    Telephone: (844) 468-2388
                                                                           Fax: (503) 343-9680
                                                              Email: rachel@preservelegalsolutionscom
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upon the marketability of grapes grown on that Vineyard property, and as previously described,

the marketability of grapes grown on the Momtazi Property has declined as a direct result of the

Marijuana Operation’s proximity to the Momtazi Property. Further, the Marijuana Operation’s

impacts on the Momtazi Property jeopardize its Demeter Biodynamic Certification, which is also

a material factor in the Momtazi Property’s fair market value. In addition, the Momtazi

Property’s location directly adj acent to an openly operating criminal enterprise even further

diminishes its fair market value. The diminished fair market value of the Momtazi Property is

reﬂected in the rental fee that Plaintiff is able to charge for the Momtazi Property, and

accordingly, the rental income that Plaintiff receives from renting the Momtazi Property is

materially less than it would be without the presence of the Marijuana Operation on the Wagner

Property.

              Federal Law Prohibits the Production and Distribution of Marijuana

                                                  22.

       Marijuana is a Schedule I drug under the Controlled Substances Act of 1970 (“Controlled

Substances Act”), and its manufacture, distribution and possession are federal criminal offenses.

See 21 U.S.C. § 812, 823, 841, 844. In addition to prohibiting producing, possessing and selling

marijuana, the Controlled Substances Act also forbids a wide range of other activities connected

with the operations of a marijuana business. It is a crime to possess “any equipment, chemical,

product or material” with the intent of using it to manufacture marijuana, or to distribute any

such material with the knowledge it will be used to manufacture marijuana. Id, § 843(a)(6) and

(7). The Controlled Substances Act prohibits using a telephone, email, mail or any other

“communication facility” to further the manufacture or sale of marijuana, and it is a federal
Page 8 {?OMPLAINT                                                  Preserve Legal Solutions, PC
                                                                          23582 S. Day Hill Rd.
                                                                           Estacada, OR 97023
                                                                     Telephone: (844) 468-2388
                                                                           Fax: (503) 343-9680
                                                               Email: rachel@preservelegalsolutionscom
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crime to use the Internet to advertise marijuana for sale. Id, § 843(b) and 843(c)(2)(A).

Reinvesting the proceeds from marijuana operations is also a crime, as is knowingly facilitating a

financial transaction involving funds derived from manufacturing and selling marijuana. Id, §

854(a) and 18 U.S.C. § 1956(a)(1), 1956(h) and 1957(3).

                                                   23.

        These criminal prohibitions on Virtually every aspect of the marijuana business make the

federal policy unmistakably clear: Marijuana is a dangerous drug banned throughout the United

States. And because RICO defines most Controlled Substances Act Violations as “racketeering

activity,” any business engaged in the production and sale of marijuana is a criminal enterprise

for the purposes of federal law. 18 U.S.C. § 1961(1)(D). Those who conduct, participate in or

conspire to assist such enterprises are subject to the severe criminal sanctions and ciVil liability

RICO imposes.

                                                   24.

       Despite the strict federal prohibitions on Virtually every aspect of the marijuana business,

Oregon has adopted a regulatory scheme intended to promote, regulate and tax this illegal

industry. However, the State of Oregon has no power to do so. The Supremacy Clause contained

in Article VI of the United States Constitution provides the “Constitution and the Laws of the

United States” are “the supreme Law of the Land.” Accordingly, state laws contrary to federal

law are null and void. If the citizens of Oregon want to change marijuana law, they must do so

Via their elected representatives in Congress, not at the state ballot box.




Page 9 {?OMPLAINT                                                    Preserve Legal Solutions, PC
                                                                              23582 S. Day Hill Rd.
                                                                             Estacada, OR 97023
                                                                       Telephone: (844) 468-2388
                                                                               Fax: (503) 343-9680
                                                                Email: rachel@preservelegalsolutionscom
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                     Defendants Violated the Controlled Substances Act

                                                 25.

       Each Defendant is an individual or entity capable of holding a legal or beneﬁcial interest

in property.

                                                 26.

       For their mutual and individual profit, all Defendants formed the Marijuana Operation, an

association in fact, for the purpose of producing, processing and distributing marijuana. Given

the strict federal prohibitions against each of those purposes, Defendants knew these purposes

could only be accomplished Via a pattern of racketeering. In furtherance of that goal, Defendants

pooled their resources and achieved enterprise efficiency no one Defendant could have achieved

individually.

                                                 27.

       Defendants conspired with each other to Violate 21 U.S.C. § 856(a) by using the Wagner

Property to produce and process marijuana, to Violate 21 U.S.C. § 843(a)(6) by purchasing and

installing structures, equipment, fixtures and materials on the Wagner Property for the purposes

of producing and processing marijuana, and to Violate 21 U.S.C. § 841(a)(1) by producing

marijuana, possessing marijuana with intent to distribute and distributing marijuana.

                                                 28.

       The Wagner Defendants each Violated 21 U.S.C. § 843 (a)(6) by purchasing and installing

equipment, fixtures and materials on the Wagner Property for the purpose of producing and

processing marijuana.



Page 10 7COMPLAINT                                                Preserve Legal Solutions, PC
                                                                        23582 S. Day Hill Rd.
                                                                         Estacada, OR 97023
                                                                   Telephone: (844) 468-2388
                                                                          Fax: (503) 343-9680
                                                             Email: rachel@preservelegalsolutionscom
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                                                     29.

       In Violation of 21 U.S.C. § 843(a)(6), the Wagner Defendants converted a large barn on

the Wagner Property into a fully operational marijuana production and processing facility.

                                                     30.

       The Wagner Defendants Violated 21 U.S.C. § 843(a)(6) by erecting large commercial

greenhouses on the Wagner Property for the purpose of producing marijuana.

                                                     3 1.

       Defendants conspired with each other to Violate 21 U.S.C. § 841(a)(1) by producing and

processing marijuana on the Wagner Property.

                                                     32.

       Defendant Richard Wagner and Defendant Yamhill Naturals Violated 21 U.S.C. §

841(a)(1) by producing and processing marijuana on the Wagner Property. Such Defendants

also Violated 21 U.S.C. § 841(a)(1) by possessing marijuana with the intent to distribute them.

                                                     33.

       Defendants conspired with each other to Violate 21 U.S.C. § 841(a)(1) by distributing

marijuana, and Defendants Richard Wagner and Yamhill Naturals Violated 21 U. S.C. § 841(a)(1)

by distributing marijuana produced and processed on the Wagner Property.

                                                     34.

       As owners of the Wagner Property, Defendants Mary Wagner and Steven Wagner control

the Wagner Property. In Violation of 18 U.S.C. § 856(a), Defendants Mary Wagner and Steven

Wagner have knowingly permitted the production and processing of marijuana on the Wagner

Property, and derived a profit from such activity.
Page 11 7COMPLAINT                                                   Preserve Legal Solutions, PC
                                                                             23582 S. Day Hill Rd.
                                                                             Estacada, OR 97023
                                                                       Telephone: (844) 468-2388
                                                                              Fax: (503) 343-9680
                                                                 Email: rachel@preservelegalsolutionscom
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                                                    35.

         To facilitate their Violations of the Controlled Substances Act, each of the Defendants

Violated 21 U.S.C. § 843(b) by communicating Via telephone, text messaging, email and social

media.

                Defendants’ Marijuana Activities Affected Interstate Commerce

                                                    36.

         In August 2018, the Oregon-Idaho High Intensity Drug Trafficking Area published a

report entitled “An Initial Assessment of Cannabis Production, Distribution and Consumption in

Oregon 2018 — An Insight Report.” Among the “key law enforcement findings” identified in the

report is that “Illicit distribution of cannabis has persisted after the emergence of the state-

sanctioned market. Between July 2015 and January 2018, 6,602 kg (14,550 lb) of trafficked

Oregon cannabis was seized en route to 37 states — worth more than $48 million.”

                                                    37.

         Defendants’ marijuana activities directly affected interstate commerce. Each Defendant

received proceeds from the production, processing and distribution of marijuana, deposited

proceeds into the federal banking system, and used proceeds to purchase goods and services that

traveled in interstate commerce. The Marijuana Operation, including marijuana production and

processing on the Wagner Property, was developed and operated with funds, goods and services

that traveled in interstate commerce.




Page 12 7COMPLAINT                                                   Preserve Legal Solutions, PC
                                                                           23582 S. Day Hill Rd.
                                                                             Estacada, OR 97023
                                                                       Telephone: (844) 468-2388
                                                                             Fax: (503) 343-9680
                                                                 Email: rachel@preservelegalsolutionscom
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                                FIRST CLAIM FOR RELIEF

                            Violation of 18 U.S.C. § 1962(c) and ((1)

                              By Plaintiff against All Defendants

                                                 38.

       Plaintiffs incorporate by reference and reallege the preceding paragraphs.

                                                 39.

       As described herein, at all relevant times, the Marijuana Operation was an “association in

fact” and therefore an “enterprise” as defined in 18 U.S.C. § 1961(4).

                                                 40.

       As described herein, each Defendant directed and/or conducted the affairs of the

Marijuana Operation.

                                                 41.

       As described herein, each Defendant Violated 18 U.S.C. § 1962(d) by conspiring to

Violate 18 U.S.C. § 1962(c), and each Defendant also Violated 18 U.S.C. § 1962(c) by

conducting and/or participating in the Marijuana Operation’s affairs through a pattern of

racketeering.

                                                 42.

       As described herein, the Marijuana Operation’s activities affected interstate commerce.

                                                 43.

       As described herein, Defendants’ Violations of 18 U.S.C. § 1962(c) and (d) directly and

proximately injured the Momtazi Property by diminishing its market value, which caused

Plaintiff to suffer damages in the form of reduced rental income. In addition, Defendants’
Page 13 7COMPLAINT                                                Preserve Legal Solutions, PC
                                                                         23582 S. Day Hill Rd.
                                                                         Estacada, OR 97023
                                                                   Telephone: (844) 468-2388
                                                                          Fax: (503) 343-9680
                                                             Email: rachel@preservelegalsolutionscom
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Violations of 18 U.S.C. § 1962(c) and (d) directly and proximately injured Plaintiff’s business by

causing lost sales of wine grapes grown on the Momtazi Property, making grapes grown on the

portion of the Momtazi Property adjacent to the Wagner Property more difficult to market and

sell, and causing Plaintiff to lose the value of one cow and suffer a diminution in value of a

second cow.

                                                  44.

       Pursuant to 18 U.S.C. § 1964(c), Plaintiff is entitled to treble damages for the injury to

the Momtazi Property and injury to Plaintiff’s business, and to attorneys’ fees and costs.

                                      RELIEF REQUESTED

       WHEREFORE, Plaintiff prays for judgment as follows:

First Claim for Relief - Violation of 18 U.S.C. § 1962(c) and (d)

By Plaintiff against All Defendants

          1.       For three times the damages to the Momtazi Property caused by Defendants’

                   racketeering activities,

          2.       For three times the damages to Plaintiff’s business caused by Defendants’

                   racketeering activities,

          3.       For an award of attorneys’ fees and costs, and

          4.       For such other and further relief as the Court shall deem equitable.




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                                                                          23582 S. Day Hill Rd.
                                                                           Estacada, OR 97023
                                                                     Telephone: (844) 468-2388
                                                                            Fax: (503) 343-9680
                                                               Email: rachel@preservelegalsolutionscom
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DATED April 2, 2019




                               /s/ Rachel E. Kosmal McCart
                               Rachel E. Kosmal McCart, Esq., OSB 190172
                               Preserve Legal Solutions, PC
                               23582 S. Day Hill Rd.
                               Estacada, OR 97023
                               Telephone: (844) 468-2388
                               Fax: (503) 343-9680
                               Attorney for Plaintiff




Page 15 7COMPLAINT                                         Preserve Legal Solutions, PC
                                                                 23582 S. Day Hill Rd.
                                                                  Estacada, OR 97023
                                                            Telephone: (844) 468-2388
                                                                   Fax: (503) 343-9680
                                                    Email: rachel@preservelegalsolutionscom
